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                         Nos. 22-2153, 23-1952

               In the United States Court of Appeals
                       For the Federal Circuit

           SALIX PHARMACEUTICALS, LTD.,
           SALIX PHARMACEUTICALS, INC.,
    BAUSCH HEALTH IRELAND LTD., ALFASIGMA S.P.A.,
                                Plaintiffs - Appellants
                                     v.
              NORWICH PHARMACEUTICALS INC.,
                              Defendant - Cross-Appellant.

           On Appeal from the United States District Court for the
          District of Delaware (Hon. Richard G. Andrews, presiding)
                           Case No. 1:20-cv-00430

                     PETITION FOR REHEARING

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                            CERTIFICATE OF INTEREST
Case Numbers              22-2153, 23-1952

Short Case Caption        Salix Pharmaceuticals, Ltd. v. Norwich Pharmaceuticals
                          Inc.

Filing Party/Entity       Salix Pharmaceuticals, Ltd., Salix Pharmaceuticals, Inc.,
                          Alfasigma S.p.A., Bausch Health Ireland Ltd


I certify the following information and any attached sheets are accurate and complete
to the best of my knowledge.

                                                 /s/ William R. Peterson
                                                 William R. Peterson
                                                 Counsel for Appellants, Salix
                                                 Pharmaceuticals, Ltd., Salix
                                                 Pharmaceuticals, Inc., Bausch Health
                                                 Ireland Ltd., Alfasigma S.P.A.

                                                 Dated: May 10, 2024

 1. Represented Entities.      2. Real Party in                 3. Parent Corporations
 Fed. Cir. R. 47.4(a)(1).      Interest.                        and Stockholders.
                               Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).

 Provide the full names of     Provide the full names of        Provide the full names of
 all entities represented by   all real parties in interest     all parent corporations for
 undersigned counsel in        for the entities. Do not         the entities and all
 this case.                    list the real parties if they    publicly held companies
                               are the same as the              that own 10% or more
                               entities.                        stock in the entities.

                                None/Not Applicable            ☐ None/Not Applicable

 Salix Pharmaceuticals,        Not Applicable                   Bausch Health
 Ltd.                                                           Companies Inc.




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Salix Pharmaceuticals,      Not Applicable                Bausch Health
Inc.                                                      Companies Inc.

Bausch Health Ireland       Not Applicable                Bausch Health
Ltd.                                                      Companies Inc.

Alfasigma S.p.A.            Not Applicable                Turytes S.p.A.


4. Legal Representatives. List all law firms, partners, and associates that (a)
appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already
entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

Karen Jacobs                Damien N. Dombrowski          Daniel A. Apgar
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Tunnell LLP                                               Bockius LLP

Scott K. Reed               Steven C. Kline               Shannon K. Clark
Venable LLP                 Venable LLP                   Venable LLP


5. Related Cases. Other than the originating case(s) for this case, are there
related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?

 Yes (See separate notice at dkt. 5)         ☐ No   ☐ N/A (amicus/movant)


6. Organizational Victims and Bankruptcy Cases. Provide any information
required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).

 None/Not Applicable



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                           STATEMENT OF COUNSEL
      Based on my professional judgment, I believe the panel decision is contrary

to the following decisions of the Supreme Court of the United States and of this

Court: Icicle Seafoods, Inc. v. Worthington, 475 U.S. 709 (1986); Atlantic

Thermoplastics Co. v. Faytex Corp., 5 F.3d 1477 (Fed. Cir. 1993).

      Based on my professional judgment, I believe this appeal requires an answer

to a precedent-setting question of exceptional importance: Whether a panel of this

Court may affirm findings of a district court based on an analysis the district court

never conducted and evidence the district court never credited.



                                             /s/ William R. Peterson
                                             William R. Peterson




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                 POINTS OVERLOOKED OR MISAPPREHENDED
      The majority opinion overlooks this Court’s limited role in reviewing findings

of fact following a bench trial. This Court must review the district court’s findings

and may not guess at findings left unmade below.

      The majority opinion overlooks the correct standard for harmless error in a

bench trial. This Court must consider whether incompetent evidence induced the

district court to make an essential finding which it otherwise would not have made.




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                                     ARGUMENT
      Our court system has well-defined roles: the trial court makes factual
      findings and the appellate court reviews those findings with deference
      to the expertise of the trial court.

      Highmark, Inc. v. Allcare Health Mgmt. Sys., Inc., 701 F.3d 1351, 1356
      (Fed. Cir. 2012) (Moore, J., dissenting from rehearing en banc)

      This petition for rehearing concerns the core of this Court’s powers and duties

as an appellate tribunal. In reviewing a bench trial under Rule 52(a), this Court

“must review factual findings made by the district court; it may not guess at findings

left unmade.” Atl. Thermoplastics Co. v. Faytex Corp., 5 F.3d 1477, 1479 (Fed. Cir.

1993). “Fact-finding by the appellate court is simply not permitted.” Id.

      As Judge Cunningham’s dissent demonstrates, the majority opinion

transgresses these well-established principles. The district court committed a legal

error: it misapplied this Court’s prior-art range-precedent and treated the claims as

presumptively obvious. The district court did not expressly find that skilled artisans

would have an expectation of success in using the claimed method of treatment to

achieve the claimed results in treating irritable bowel syndrome with diarrhea

(IBS-D).

      On appeal, Salix urged the panel to apply the proper rule of law to the district

court’s findings and reverse or, alternatively, remand to the district court. See Icicle

Seafoods, Inc. v. Worthington, 475 U.S. 709, 714 (1986); Opening Br. 47-48; Resp.

& Reply Br. 16-19.


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       The panel majority instead made findings of fact in the first instance,

abandoning the district court’s analysis and crediting evidence the district court

never addressed. The majority opinion resolves a key factual dispute—whether

skilled artisans would view small intestinal bacterial overgrowth (SIBO) as a cause

of IBS-D or as a separate disorder—that was hotly disputed at trial and unresolved

by the district court.

       The majority’s departure from its role as a court of review is revealed most

clearly in its treatment of the RFIB 2001 Press Release, the key reference relied upon

by the district court. Salix demonstrated on appeal that the press release was not

prior art: Norwich failed to prove that it was “by others” under pre-AIA Section

102(a). Opening Br. 31-35. The majority held that any error was harmless. Op. at

11. Rather than apply the correct standard—whether “the incompetent evidence

induced the court to make an essential finding which it otherwise would not have

made,” S. Pac. Transp. Co. v. Chabert, 973 F.2d 441, 448 (5th Cir. 1992)—the

majority found that other evidence “established” the fact.

       As a court of specialized jurisdiction, this Court faces a particular temptation

to rely on its expertise and make factual findings in the first instance. Regardless of

its expertise in patent law, this Court should remember its vital duty to review district

court’s findings and not find facts in the first instance. Rehearing is warranted.




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I.    This Court Must Review the District Court’s Findings and May Not
      Guess at Findings Left Unmade.

      Reviewing a decision from a bench trial differs significantly from reviewing

a denial of a motion for judgment as a matter of law from a jury trial. If Salix had

appealed the denial of a Rule 50 motion, then this Court would properly ask whether

“a reasonable jury would . . . have a legally sufficient evidentiary basis to find” an

expectation of success. Fed. R. Civ. P. 50(a). The majority’s approach—reviewing

all the evidence to see whether a reasonable factfinder had a sufficient basis to make

the finding—would have been correct, and Salix would have no complaint.

      But Rule 52(a) requires a more constrained approach. This Court’s role is to

“discuss” and “analyze” the district court’s findings, Icicle Seafoods, 475 U.S. at

713, not determine whether other evidence or different reasoning might support the

same ultimate conclusion. See 9C Charles Alan Wright & Arthur R. Miller,

FEDERAL PRACTICE AND PROCEDURE § 2585 (3d ed. 1998) (clear error can occur

even when “there is [substantial] evidence supporting [a finding]”).

      This Court has explained that it “must review factual findings made by the

district court; it may not guess at findings left unmade.” Atl. Thermoplastics, 5 F.3d

at 1479. If there are gaps (or errors) in the district court’s fact-finding, this Court

must remand rather than fill them itself.




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II.   Rather than Remand, the Majority Opinion Guesses at Findings that the
      District Court Left Unmade.

      A.    The Majority Opinion Abandons the District Court’s Analysis.

      The two method claims at issue concern treating IBS-D with a specific dosage:

550 mg three times per day (i.e., 1,650 mg/day) for fourteen days. The reasonable-

expectation-of-success analysis must be framed “around that specific dosage.” Teva

Pharm. USA, Inc. v. Corcept Therapeutics, Inc., 18 F.4th 1377, 1381 (Fed. Cir.

2021).

      Both claims require specific results. Claim 3 of U.S. Patent No. 10.765,667

requires treating one or more symptoms in a subject 65 years of age or older. Claim

2 of U.S. Patent No. 8,309,569 requires “about 12 weeks of adequate relief of

symptoms” after the subject is removed from treatment. These claims could be

obvious only if a skilled artisan would have had a “reasonable expectation of

achieving what is claimed,” i.e., the claimed results using the claimed method of

treatment. Intelligent Bio-Sys., Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359,

1367 (Fed. Cir. 2016). Norwich bore the burden to prove this fact by clear and

convincing evidence.

      But the district court did not find that a skilled artisan would have a reasonable

expectation of success using the claimed dosage to achieve the claimed results in




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treating IBS-D. Appx33-34.1 It first found that skilled artisans “have a motivation

to use rifaximin for the treatment of IBS-D.” Appx38. With respect to dosage, the

district court found only that “the prior art disclosed positive results in using

rifaximin to treat IBS-D for a range of doses,” Appx34, and “[t]he asserted IBS-D

claims describe a dosing regimen within the known range.” Appx34; Appx39.

      The district court then applied this Court’s prior-art range-precedent to

presume obviousness. See Appx39 (“Where the general conditions of a claim are

disclosed in the prior art, it is not inventive to discover the optimum or working

ranges by routine experimentation.” (quoting In re Applied Materials, Inc., 692 F.3d

1289, 1295 (Fed. Cir. 2012)).

      But as Salix detailed on appeal (and the panel majority did not deny), the

district court’s analysis was erroneous. The upper end of the “range of doses” for

which the prior art “disclosed positive results in using rifaximin to treat IBS-D” was

1,200 mg/day. Appx39. The only mention of a dosage larger than 1,200 mg/day in

the district court’s opinion is the RFIB 2001 Protocol, which proposed testing 2,200



1
  The district court found, “A POSA would have been motivated to combine the
RFIB 2001 Protocol and Pimentel 2006 with a reasonable expectation of success.”
Appx33. But this finding does not “consider the appropriate scope of the . . . patent’s
claimed invention.” Allergan, Inc. v. Apotex Inc., 754 F.3d 952, 966 (Fed. Cir.
2014). “[W]hether one would reasonably expect the prior art references to operate
as those references intended once combined . . . is not the correct inquiry—one must
have a motivation to combine accompanied by a reasonable expectation of achieving
what is claimed in the patent-at-issue.” Intelligent Bio-Sys., 821 F.3d at 1367.

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mg/day. But this protocol “did not disclose results.” Appx40. The RFIB 2001 Press

Release (which reported results of a study conducted according to this protocol)

showed success only for the protocol’s 1,100 mg/day dosage. Appx39.

      From the district court’s fact-finding, the claimed dosage was outside, not

inside, the known range of dosages that would successfully treat IBS-D. The panel

should have either reversed or remanded for additional fact-finding. Icicle Seafoods,

475 U.S. at 714.

      The majority did neither. Instead, it independently analyzed the evidence,

relied on prior art not credited by the district court, and conducted its own fact-

finding.

      The majority’s analysis of the evidence began with a statement from Pimentel

2006: “Recent data suggest that the optimal dosage of rifaximin may, in fact, be

higher than that used in our study.” Op. at 8. The majority’s finding that this

statement created an expectation of success (by clear and convincing evidence) is

erroneous on its face: a statement about what “may”—or may not—be true does not

create an expectation of success by clear-and-convincing evidence. See, e.g.,

Honeywell Int’l Inc. v. Mexichem Amanco Holding S.A. DE C.V., 865 F.3d 1348,

1356 (Fed. Cir. 2017) (“Unpredictability of results equates more with

nonobviousness rather than obviousness[.]”).




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      More importantly, as Judge Cunningham noted in dissent, “the district court

only relied on this sentence in its motivation to combine analysis and did not rely on

this sentence in its reasonable expectation of success analysis.” Dissent at 5.2

Furthermore, the majority’s theory was unpreserved: “The parties never made this

argument before us.” Dissent at 5.

      The majority’s approach diverges from the district court’s: one cannot read

the opinion below and conclude the district court found, by clear and convincing

evidence, that the statement “the optimal dosage of rifaximin may be higher” created

an expectation of success in using the claimed dosage to achieve the claimed results

in treating IBS-D. The district court never made such a finding, and the majority

erred by making the finding itself.

      Compounding the error, the majority then turned to three references never

credited by the district court: Lauritano, Scarpellini, and Lin. Op. at 9-10. These

references concern the treatment of SIBO, not IBS-D. Resp & Reply Br. 18.

      The parties hotly contested the relationship between SIBO and IBS-D at trial.

Norwich’s theory was that SIBO is a cause of IBS-D and thus that skilled artisans

would expect success in treating IBS-D with any SIBO treatment. Appx3138-3140.


2
  Pimentel 2006 was a deeply flawed reference, to the extent that it was published
alongside an editorial that cautioned against relying on it. See Appx 5152-5153
(Drossman editorial noting “several methodological issues” that made Pimentel
2006’s “findings inconclusive” and cast doubt on “the clinical significance of the
results”); Opening Br. 10-11 (discussing other issues).

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Salix’s expert testified, in contrast, that “[SIBO] is a separate disease” from IBS.

Appx3260; see also Appx3261-3162 (“[I]t’s one of those things you might look for

and treat as a separate disease because it mimics the symptoms of IBS with

diarrhea.”). Numerous publications confirmed Salix’s view. Appx3262-3264.

Skilled artisans would have no expectation that a treatment for SIBO—a “separate

disease”—would successfully treat IBS-D.

      To the extent that the district court resolved this factual dispute, it agreed with

Salix. In analyzing expectation of success, the district court considered only prior

art showing “positive results in using rifaximin to treat IBS-D.” Appx34. And in

discussing the “known range,” the district court looked only at references reporting

results for IBS-D treatment, not SIBO treatment. Appx38.

      The district court merely acknowledged the references cited by the majority—

Lauritano, Scarpellini, and Lin—as prior art, Appx33; it did not rely on them in its

analysis, Appx38. The majority took it upon itself to make a finding about the

relationship of SIBO and IBS-D on which the district court was, at a minimum,

silent. Op. at 9. Based on that finding, the majority then credited the prior art and

made its own findings regarding the teachings of that art in the first instance.

      Judge Cunningham’s dissent highlights the majority’s error in finding these

facts: “Although the majority may be right that Lauritano’s and Scarpellini’s

disclosures on treating SIBO also support finding a reasonable expectation of



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success for treating IBS-D, the district court never made this finding.” Dissent at 6

(internal citation omitted). “I would not make such fact-findings about Scarpellini

and Lauritano in the first instance.” Id. (citing Golden Bridge Tech., Inc. v. Nokia,

Inc., 527 F.3d 1318, 1323 (Fed. Cir. 2008) (declining to find what a prior art

reference teaches in the first instance)).

      B.     Courts of Appeals Are Ill-Equipped to Find Facts in the First
             Instance.

      The majority’s analysis illustrates precisely why courts of appeals may not

engage in fact finding or “guess at findings left unmade.” Alt. Thermoplastics, 5

F.3d at 1479. The district court—not this Court—has access to the full record, is

present for the live testimony, and is positioned to make factual findings.

      The panel lacked the full context necessary to conduct fact-finding in the first

instance.   For example, the majority opinion erroneously conflates “bacterial

alteration” as a potential cause of IBS-D with Norwich’s theory that treatment of

SIBO equates to treatment of IBS-D. Op. at 9. Parties on appeal do not have the

words available to address every conceivable misinterpretation of the record, and

this Court spends far less time with a case than a district judge who sits through trial

and receives the evidence firsthand. The district court heard days of witness

testimony; this Court heard 30 minutes of attorney argument.

      Similarly, as detailed below, the majority overlooked the strong, perhaps even

overwhelming, evidence of skepticism presented by Salix. Opening Br. 12. An


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article written near-contemporaneously with the priority date of the IBS-D Patents

surveyed the literature (including the prior art relied on by Norwich) and concluded

that there was no expectation of success in using rifaximin to treat IBS-D: “There is

insufficient evidence to recommend antibiotics for the treatment of irritable bowel

syndrome at present.” Appx5543. Accurate fact-finding would have required the

majority to consider the evidence that weighed against, as well as in favor of, its

findings. This Court reverses district courts and PTAB panels that, like the majority

here, fail to address secondary considerations in obviousness fact-finding. See In re

Cyclobenzaprine Hydrochloride Extended-Release Capsule Patent Litig., 676 F.3d

1063, 1075 (Fed. Cir. 2012) (noting the “require[ment] that a fact finder consider all

evidence relating to obviousness before finding a patent invalid”).

      This Court is “less experienced than trial judges at making fact-findings and

in making discretionary judgments of the kind that trial judges often have to make.”

Joan Steinman, Appellate Courts As First Responders: The Constitutionality and

Propriety of Appellate Courts’ Resolving Issues in the First Instance, 87 NOTRE

DAME L. REV. 1521, 1604 (2012). Any “doubt should be resolved in favor of remand

to the district court so that the record can be fully developed and district courts can

fulfill the functions that ordinarily are theirs.” Id. at 1607.

      After recognizing that the district court erred, the majority should have

remanded (or reversed). But conducting its own fact-finding was impermissible:



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“[I]t is not the function of this court to search the record and analyze the evidence in

order to supply findings which the trial court failed to make.” Kelley v. Everglades

Drainage Dist., 319 U.S. 415, 421-22 (1943).

      C.     The Decision in This Appeal Cannot Be Harmonized with Janssen.

      The majority’s willingness to conduct independent fact-finding to affirm

sharply contrasts with this Court’s recent decision in Janssen Pharmaceuticals, Inc.

v. Teva Pharmaceuticals USA, Inc., 97 F.4th 915 (Fed. Cir. 2024). There, a separate

panel in a precedential decision remanded after correcting the district court’s

understanding about the scope of the claims, which “impacted the district court’s

overall obviousness analysis.” Id. at 926-27.

      This Court held “the court’s framing led it to ask the wrong questions about

important aspects of the obviousness inquiry.” Id. at 927. The Janssen panel

correctly remanded to the district court: “This error requires a remand as to all claims

because as it currently stands, the record does not contain underlying obviousness

factfindings that are cued to the ‘a psychiatric patient’ claims at issue here.” Id.

(citing Syntex (U.S.A.) LLC v. Apotex, Inc., 407 F.3d 1371, 1373 (Fed. Cir. 2005)

(reversing and remanding where “the district court committed legal error in

establishing certain factual predicates to its non-obviousness determination”)).

      There is no principled reason to remand in Janssen—at the patent challengers’

request—but not to remand here at the patentee’s request. In both cases, the district



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court erred in analyzing obviousness, and in both cases, this Court should remand

rather than find those facts itself. Correcting the majority’s error would ensure

consistency between these two recent decisions.

III.     The Majority Applied the Incorrect Standard for Harmless Error.

         The majority’s departure from the proper role of an appellate tribunal is

further confirmed by its application of the wrong standard for harmless error. The

“RFIB2001 Press Release” was the key reference relied on by the district court,

particularly in discounting the skeptical literature, Appx44, but the district court

erred in treating that reference as prior art. It did not find (by clear and convincing

evidence) that the press release was “by others” under pre-AIA Section 102(a),

erroneously placing the burden on Salix to prove the opposite. Appx41; see also

Google LLC v. IPA Techs. Inc., 34 F.4th 1081, 1085-86 (Fed. Cir. 2022).3

         The majority opinion—without citation to any authority—declares that any

error in relying on the press release was harmless because other evidence

“established the obviousness of the claims.” Op. at 11.

         The majority applied the wrong standard. The question is not whether the

majority would (or even a hypothetical factfinder could) have reached the same

ultimate result without relying on the press release. The correct inquiry is whether

the press release affected the district court’s analysis. Opening Br. 37-39.


3
    Norwich has never argued that it presented sufficient evidence to carry that burden.

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      The panel should have asked whether the press release “induced the [district]

court to make an essential finding which it otherwise would not have made.”

Weinhoffer v. Davie Shoring, Inc., 23 F.4th 579, 582 (5th Cir. 2022) (emphasis

added); id. at 584 (reversing findings of a district court that relied on incompetent

evidence “as the primary bases for its decision,” despite other evidence); see also,

e.g., Lussy v. Comm’r of IRS, 651 F. App’x 883, 884 (11th Cir. 2016) (same

standard); Collins & Aikman Corp. v. Carpostan Indus., Inc., 905 F.2d 1529 (4th

Cir. 1990) (same standard); O’Connor v. Peru State Coll., 781 F.2d 632, 639 (8th

Cir. 1986) (same standard). Put another way, can this Court be “[c]onfident that the

district court would have reached the same result even if the [press release] had been

excluded”? United States v. Ortiz-Ramirez, 143 F. App’x 729, 730 (8th Cir. 2005).

      The district court’s decision demonstrates that the press release caused the

district court to make findings it would not otherwise have made. The district court

emphasized the RFIB2001 Press Release throughout its findings:

       “As of the priority date, a POSA would have known about the successful
        RFIB 2001 Protocol results [from the RFIB2001 Press Release].” Appx38.

       “Rifaximin had been shown to be effective in treating IBS in Pimentel
        2006 and [(because of the RFIB2001 Press Release)] IBS-D in the RFIB
        2001 Protocol[.]” Appx38.

       “The RFIB 2001 Press Release reported that a ‘14-day course of rifaximin
        at 550 mg twice-a-day’ dosage saw effective results.” Appx39.




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       “[The RFIB2001 Press Release’s] disclosure of positive results would give
        a POSA a reasonable expectation of success in using rifaximin to treat
        IBS-D.” Appx42.

       “More importantly, a POSA would look to the top-line results from the
        RFIB 2001 Protocol [i.e., the RFIB2001 Press Release] as evidence that
        rifaximin could be effective in treating IBS-D[.]” Appx43.

      The district court placed particular emphasis on the RFIB2001 Press Release

in overcoming the evidence of skepticism. Three articles published shortly before

the IBS-D Patents reviewed the literature—including the majority of the prior art at

issue—and concluded that the information available did not support using antibiotics

(like rifaximin) to treat IBS-D. Opening Br. 12. Less than a month before the

priority date of the IBS-D Patents, Dr. Steve Vanner surveyed the studies and wrote:

“There is insufficient evidence to recommend antibiotics for the treatment of

irritable bowel syndrome at present.” Appx5543. Stronger objective evidence of

skepticism would be difficult to imagine.

      The district court discounted these articles because they did not cite the

RFIB2001 Press Release. See Appx44 (“Norwich argues that one of the [skeptical]

articles was published before Yang and the RFIB 2001 Press Release, and the other

two articles did not cite those references.”); Appx42 (“[The] RFIB 2001 Press

Release . . . was not cited by Quigley, Vanner, or Drossman[.]”). The district court’s

erroneous reliance on the press release caused it to make findings regarding

secondary considerations that it would not otherwise have made.



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      Norwich has argued only that the district court could (or, perhaps, should)

have reached the same result in the absence of the press release. Principal & Resp.

Br. 44. Norwich has never argued that the district court would have made the same

decision.   Considering the district court’s heavy reliance on the press release

throughout its findings, such an argument would have been untenable.

      The majority applied the wrong test for harmless error by asking whether (in

its view) other evidence “established” the fact. In its appellate role, this Court was

required to ask whether the press release induced the district court to make findings.

It did. Because this Court cannot be confident that the district court would have

reached the same result in the absence of the press release, any error was harmful.

IV.   This Error Warrants Correction by this Court En Banc.

      The error at issue concerns the core of this Court’s responsibilities: the

difference between reviewing a decision of a district court and reviewing the

evidence and finding facts in the first instance. Because of its expertise as a court of

specialized jurisdiction, this Court faces a particular temptation to decide patent

cases “correctly,” rather than confine itself to the standard of review. Commentators

have previously suggested that this Court applies “rules in a manner that does not

align with other appellate circuits’ approaches.”         Alan B. Parker, Examining

Distinctive Jurisprudence in the Federal Circuit: Consequences of A Specialized

Court, 3 AKRON INTELL. PROP. J. 269, 281 (2009).



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      This Court should reaffirm its adherence to the correct standard of review. Its

responsibility is not to survey the evidence on its own or guess at findings left

unmade below but instead to review the fact-finding of a district court. When

findings are missing, this Court must remand to the district court, rather than resolve

factual disputes on its own.

                               CONCLUSION & PRAYER
      For these reasons, Salix respectfully requests that this Court grant rehearing,

either panel rehearing or rehearing en banc.

 Dated: May 10, 2024                           Respectfully submitted,

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    CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS
      1.    This opposition complies with the type-volume limitations of the
Federal Rules and Federal Circuit Rules because this Petition for Rehearing contains
3,888 words.

      2.     This petition complies with the typeface requirements of Federal Rule
of Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of
Appellate Procedure 32(a)(6) because this opposition has been prepared in a
proportionally spaced typeface using Microsoft Office 365 in Times New Roman
14-point font.


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                                           Dated: May 10, 2024




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                      ADDENDUM




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     United States Court of Appeals
         for the Federal Circuit
                   ______________________

       SALIX PHARMACEUTICALS, LTD., SALIX
     PHARMACEUTICALS, INC., BAUSCH HEALTH
         IRELAND LTD., ALFASIGMA S.P.A.,
                Plaintiffs-Appellants

                              v.

         NORWICH PHARMACEUTICALS INC.,
              Defendant-Cross-Appellant
               ______________________

                    2022-2153, 2023-1952
                   ______________________

      Appeals from the United States District Court for the
  District of Delaware in No. 1:20-cv-00430-RGA, Judge
  Richard G. Andrews.
                  ______________________

                   Decided: April 11, 2024
                   ______________________

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                  ______________________

   Before LOURIE, CHEN, and CUNNINGHAM, Circuit Judges.
      Opinion for the court filed by Circuit Judge LOURIE.
       Opinion dissenting-in-part filed by Circuit Judge
                        CUNNINGHAM.
  LOURIE, Circuit Judge.
      Salix Pharmaceuticals, Ltd., Salix Pharmaceuticals,
  Inc., Bausch Health Ireland Ltd., and Alfasigma S.P.A.
  (collectively, “Salix”) appeal from a final judgment of the
  United States District Court for the District of Delaware
  holding claim 2 of U.S. Patent 8,309,569, claim 3 of U.S.
  Patent 10,765,667, claim 4 of U.S. Patent 7,612,199, and
  claim 36 of U.S. Patent 7,902,206 invalid as obvious. See
  Salix Pharms., Ltd. v. Norwich Pharms., Inc., No. 20-cv-
  430, 2022 WL 3225381 (D. Del. Aug. 10, 2022) (“Decision”).
     Norwich Pharmaceuticals Inc. (“Norwich”) cross-ap-
  peals from an order that issued after the district court con-
  cluded that Norwich infringed claim 8 of U.S. Patent
  8,624,573, claim 6 of U.S. Patent 9,421,195, and claims 11
  and 12 of U.S. Patent 10,335,397 and had failed to prove
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  that those claims were invalid. That order, contained
  within the final judgment, instructed the FDA that the ef-
  fective approval date of Norwich’s Abbreviated New Drug
  Application (“ANDA”) may not precede the expiration dates
  of those claims. J.A. 51. Norwich also cross-appeals from
  a denial of its motion to modify the final judgment. See
  Salix Pharms., Ltd. v. Norwich Pharms., Inc., No. 20-430,
  2023 WL 3496373 (D. Del. May 17, 2023) (“Rule 60(b) Or-
  der”).
     For the following reasons, we affirm.
                         BACKGROUND
      Rifaximin, the active ingredient in Salix’s commercial
  product Xifaxan®, has been widely used as an antibiotic for
  decades, having been first synthesized in the early 1980s
  in Italy and approved there as an antibiotic in 1985. Deci-
  sion at *8; J.A. 2532. The FDA approved Xifaxan nearly 20
  years later, in 2004, as 200 mg tablets for the treatment of
  travelers’ diarrhea. Decision at *1. The FDA subsequently
  approved 550 mg tablets for hepatic encephalopathy (“HE”)
  in 2010 and for irritable bowel syndrome with diarrhea
  (“IBS-D”) in 2015. Id.
      Norwich sought to market a generic version of rifaximin
  and, in 2019, filed an ANDA for 550 mg tablets with the
  same indications as Xifaxan, certifying pursuant to
  21 U.S.C. § 355(j)(2)(vii)(IV) that Salix’s rifaximin patents
  were invalid. Salix timely sued, asserting that Norwich’s
  ANDA infringed dozens of valid, Orange Book-listed pa-
  tents. By the time of trial, the case had been streamlined
  to three groups of patents:
     •   the ’573, ’195, and ’397 patents, directed to treating
         HE (“the HE patents”);
     •   the ’569 and ’667 patents, directed to treating IBS-D
         with 550 mg rifaximin three times a day (1,650
         mg/day) for 14 days (“the IBS-D patents”); and,
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      •   the ’199 and ’206 patents, directed to rifaximin form
          β (“the polymorph patents”).
      Following a bench trial, the district court held that
  Norwich infringed the HE patents’ claims and had failed to
  establish their invalidity. Decision at *10−11. Norwich did
  not appeal those holdings. The court also held that Nor-
  wich’s ANDA infringed the IBS-D and polymorph patents,
  but that those patents’ claims would have been obvious
  over certain prior art. Id. at *2−3, 16−17. Salix appealed
  those invalidity holdings.
      As part of the entered judgment, the district court or-
  dered that the effective date of a final approval of Norwich’s
  ANDA should not precede October 2029, which is the latest
  expiration date associated with the HE patents. J.A. 51.
  Norwich then amended its ANDA in an attempt to remove
  the infringing HE indication and moved to modify the judg-
  ment under Federal Rule of Civil Procedure 60(b), assert-
  ing that the amendment negated any possible
  infringement. The court denied Norwich’s motion, and
  Norwich cross-appealed.
      We have jurisdiction under 28 U.S.C. § 1295(a)(1).
                           DISCUSSION
       Salix first contends that the district court’s conclusion
  that the asserted claims of the IBS-D patents were invalid
  as obvious was reached in error. Subsumed within that
  challenge is a question of whether or not a background ref-
  erence discussed by the court was properly established as
  prior art. Salix also contends that the court erred in hold-
  ing that the asserted polymorph patent claims were invalid
  as obvious. Norwich’s cross-appeal asserts that the court
  erred in the phrasing of its order precluding final approval
  of its ANDA until expiration of the HE patents. Norwich
  further asserts that the court erred in denying its motion
  to modify after the ANDA was amended in an attempt to
  avoid infringement. We address each argument in turn.
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                                I
      We turn first to Salix’s contention that the district
  court erred in concluding that the asserted claims of the
  IBS-D patents would have been obvious over the asserted
  prior art.
       Whether or not a claim would have been obvious is a
  question of law, based on underlying factual determina-
  tions. Hospira, Inc. v. Fresenius Kabi USA, LLC, 946 F.3d
  1322, 1328–29 (Fed. Cir. 2020). We review the ultimate
  legal question of obviousness de novo and the underlying
  factual determinations for clear error. Id. at 1328. A find-
  ing is clearly erroneous only if we are “left with a definite
  and firm conviction that the district court was in error.” Id.
  (citations omitted).
      The IBS-D patents are directed to treating IBS-D with
  550 mg rifaximin, thrice-daily (1,650 mg/day), for 14 days.
  For example, claim 2 of the ’569 patent depends from claim
  1 as follows:
      1. A method of providing acute treatment for diar-
      rhea-associated Irritable Bowel Syndrome (dIBS)
      comprising: administering 1650 mg/day of rifaxi-
      min for 14 days to a subject in need thereof,
      wherein removing the subject from treatment after
      the 14 days results in a durability of response,
      wherein the durability of response comprises about
      12 weeks of adequate relief of symptoms.
      2. The method of claim 1, wherein the 1650 mg is
      administered at 550 mg three times per day.
  ’569 patent, col. 30 ll. 4–12 (emphases added); see also ’667
  patent, col. 46 ll. 29–33, 39–40 (claims 1 & 3, similar). The
  key limitation on appeal is the dosage amount that appears
  in the claims: 550 mg, three times per day (“TID”), for a
  total of 1,650 mg/day.
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       Norwich challenged the IBS-D claims’ validity by as-
  serting as prior art references a clinical trial protocol that
  had been published on the ClinicalTrials.gov website in
  2005 (“the Protocol”) 1 and a 2006 journal article (“Pimen-
  tel”). 2 The Protocol describes a Phase II study evaluating
  twice-daily doses of 550 mg (1,100 mg/day) and 1,100 mg
  (2,200 mg/day) for 14 and 28 days for the treatment of IBS-
  D. See J.A. 7051. Pimentel teaches administering 400 mg,
  TID (1,200 mg/day), for the treatment of IBS, 3 but further
  opines that the “optimal dosage of rifaximin may, in fact,
  be higher than that used in our study.” J.A. 4644.
      The district court found that those two references dis-
  close each and every limitation of the challenged IBS-D
  claims, and further found that a skilled artisan would have
  been motivated to combine those two references to arrive
  at what is claimed with a reasonable expectation of success.
  Decision at *17, *19–20. The court then concluded that the
  challenged IBS-D claims were invalid as obvious. Id. at



      1    ClinicalTrials.gov, History of Changes for Study:
  NCT00269412, Randomized, Double Blind, Placebo-Con-
  trolled Study to Assess the Efficacy and Safety of Three Dif-
  ferent Doses of Rifaximin Administered BID either Two or
  Four Weeks in the Treatment of Patients with Diarrhea-As-
  sociated Irritable Bowel Syndrome (December 22, 2005);
  J.A. 7047–55.
       2   M. Pimentel et al., The Effect of a Nonabsorbed
  Oral Antibiotic (Rifaximin) on the Symptoms of the Irrita-
  ble Bowel Syndrome, 145 ANN. INTERN. MED., 557 (2006);
  J.A. 4639–46.
       3   Salix did not argue a difference between a motiva-
  tion to use rifaximin to treat IBS versus IBS-D. Decision
  at *19 n.3. It concedes on appeal that “[r]oughly one-third
  of IBS patients suffer from IBS-D,” Appellants’ Br. at 6,
  and has not otherwise suggested that treatments for IBS
  would not inform treatments of IBS-D.
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  *17–22. Salix appeals, asserting that the court erred in
  finding that a skilled artisan would have had a reasonable
  expectation of success in using the claimed 1,650 mg/day
  dosage to treat IBS-D. Appellants’ Br. at 39–48. Whether
  or not there would have been a reasonable expectation of
  success is a question of fact, IXI IP, LLC v. Samsung Elecs.
  Co., 903 F.3d 1257, 1262 (Fed. Cir. 2018), which we review
  for clear error, Hospira, 946 F.3d at 1328.
      Salix does not appear to dispute the district court’s
  finding that the Protocol and Pimentel “disclose all limita-
  tions of the IBS-D claims.” See Decision at *17. Rather, it
  contends that even if the asserted combination of refer-
  ences effectively discloses the claimed 1,650 mg/day dos-
  age, there remains insufficient evidence to support a
  finding of a reasonable expectation of success in using that
  particular dosage amount. See, e.g., Appellants’ Br. at 39–
  40. According to Salix, the highest prior art dosage amount
  that could have been supported with a reasonable expecta-
  tion of success was the 1,200 mg/day dose evaluated by Pi-
  mentel. Id. at 40. We disagree.
      The Protocol provides an outline of a planned Phase II
  clinical trial in which “three different doses (275, 550 and
  1100 mg) of rifaximin” were to be “administered BID [i.e.,
  twice-daily] for either two or four weeks in the treatment
  of patients with diarrhea-associated irritable bowel syn-
  drome.” J.A. 7050 (cleaned up). As an outline of that clin-
  ical trial plan, the Protocol provides only that those three
  specific, twice-daily dosage regimens were to be investi-
  gated for either two or four weeks. The Protocol does not
  include any efficacy or safety data, nor does it mention a
  1,650 mg/day dose or TID dosing.
      Although we have rejected the idea that “efficacy data
  [are] always required for a reasonable expectation of suc-
  cess,” OSI Pharms., LLC v. Apotex Inc., 939 F.3d 1375,
  1385 (Fed. Cir. 2019), we are hesitant to conclude as a gen-
  eral matter that the disclosure of a Phase II clinical trial
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  plan, standing alone, provides an expectation of success
  sufficient to render obvious a dosage that was not included
  within the planned clinical trial. See Appellants’ Reply Br.
  at 13−14. But the Protocol was not asserted alone; it was
  asserted in combination with Pimentel.
       Pimentel teaches that administration of 400 mg rifaxi-
  min, TID (1,200 mg/day), “resulted in greater improvement
  in IBS symptoms” and “lower bloating score[s] after treat-
  ment.” J.A. 4639; see also id. at 4642–43 (providing sup-
  porting data). Pimentel explains that the 400 mg TID
  regimen was chosen “on the basis of a previous study that
  demonstrated the efficacy of rifaximin in bacterial over-
  growth.” Id. at 4640. However, Pimentel does not merely
  provide that daily rifaximin doses of 1,200 mg were likely
  to be successful in the treatment of IBS. Pimentel further
  teaches that “[r]ecent data suggest that the optimal dosage
  of rifaximin may, in fact, be higher than that used in our
  study.” J.A. 4644; Decision at *20 (emphases added).
      The district court did not clearly err in finding that a
  skilled artisan would have looked to both of those refer-
  ences, considered their limits, and had a reasonable expec-
  tation of success as to the efficacy of 550 mg TID dosing.
  The combined message that the skilled artisan would have
  discerned from the Protocol and Pimentel is that the opti-
  mal dosage for treating patients suffering from IBS disor-
  ders may be higher than 400 mg TID, and the next higher
  dosage unit from the Protocol was 550 mg. We see no clear
  error in the conclusion that there would have been a rea-
  sonable expectation of success in administering the
  claimed 1,650 mg/day to IBS-D patients. Indeed, certainty
  and absolute predictability are not required to establish a
  reasonable expectation of success. See Almirall, LLC v.
  Amneal Pharms. LLC, 28 F.4th 265, 275 (Fed. Cir. 2022)
  (“A finding of a reasonable expectation of success does not
  require absolute predictability of success.”); Acorda Thera-
  peutics, Inc. v. Roxane Lab’ys, Inc., 903 F.3d 1310, 1333
  (Fed. Cir. 2018) (“This court has long rejected a
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  requirement of conclusive proof of efficacy for obviousness.”
  (cleaned up)).
       Moreover, references establishing the background
  knowledge of a person of ordinary skill in the art are con-
  sistent with the reasonable expectation of success provided
  by the combination of the Protocol with Pimentel. For ex-
  ample, Cuoco 4 teaches the efficacy of 1,200 mg rifaxi-
  min/day for 14 days for the treatment of small intestinal
  bacterial overgrowth (“SIBO”). J.A. 4533. Salix has
  acknowledged that those of ordinary skill in the art identi-
  fied “bacterial alterations” as a potential underlying cause
  for IBS, Appellants’ Br. at 7, and the literature 5 describes
  SIBO as a condition that is “highly prevalent in patients
  with irritable bowel syndrome (IBS),” such that “SIBO de-
  contamination is associated [with] a significant improve-
  ment of IBS symptoms.” J.A. 4664. We therefore agree
  with the district court that references describing the treat-
  ment of SIBO would have been pertinent to the skilled ar-
  tisan’s considerations as to what treatments would have a
  potential for success in treating individuals suffering from
  IBS.
      In addition to Cuoco, Lauritano6 teaches an increase in
  rifaximin efficacy for the treatment of SIBO as doses were
  increased from 600 mg/day to 1,200 mg/day, providing the


      4    L. Cuoco & M. Salvagnini, Small intestine bacterial
  overgrowth in irritable bowel syndrome: a retrospective
  study with rifaximin, 52 MINERVA GASTROENTEROL.
  DIETOL. (2006) 89; J.A. 4533–39.
      5    E. Scarpellini et al., High dosage rifaximin for the
  treatment of small intestinal bacterial overgrowth,
  25 ALIMENT. PHARMACOL. THER. 781 (2007); J.A. 4663−67
  (“Scarpellini”).
      6    E.C. Lauritano et al., Rifaximin dose-finding study
  for the treatment of small intestinal bacterial overgrowth,
  22 ALIMENT. PHARMACOL. THER., 31 (2005); J.A. 7267−71.
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  trend that Pimentel described as indicating that doses
  higher than 1,200 mg/day may be even more optimal for
  the treatment of IBS. J.A. 7267 (“Higher doses of rifaximin
  lead to a significant gain in terms of therapeutic efficacy in
  [SIBO] eradication without increasing the incidence of
  side-effects.”); see also id. at 4644. As evidenced by Scar-
  pellini and Lin, 7 those in the art advanced on those find-
  ings, and subsequently evaluated higher doses. For
  example, Scarpellini reported that a 1,600 mg/day dose
  “showed a significantly higher efficacy” compared with
  1,200 mg/day for the treatment of SIBO. J.A. 4663; see also
  id. at 4666 (Table 1, noting study patients included those
  suffering from IBS-D); id. at 4747 (teaching that “[a]bout
  400 to about 600 mg of rifaximin may be administered TID
  for about 10 days” (i.e., 1,200 mg/day to 1,800 mg/day) for
  the eradication of bacterial overgrowth).
      The record further supports the finding that there
  would have been a reasonable expectation of success in ad-
  ministering higher doses of rifaximin without an intolera-
  ble increase in negative side effects. For example, Cuoco
  teaches that rifaximin was understood as having “a low
  risk of causing microbial resistance,” J.A. 4533, and that
  rifaximin was well known for its “profile of tolerability and
  safety widely described in the literature,” id. at 4538. Scar-
  pellini further reported that the 1,600 mg/day dose pro-
  vided a “similar compliance and side-effect profile”
  compared with the 1,200 mg/day dose. Id. at 4663. As the
  district court noted, the “[w]idespread off-label use” of
  rifaximin also supported the conclusion that rifaximin was
  safe and effective “for the treatment of IBS-D with a rea-
  sonable expectation of success.” Decision at *19; see also
  Appellants’ Br. at 17 (“There is no dispute that skilled




       7 International Patent       Application    Publication
  2006/102536; J.A. 4721–47.
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  artisans knew of the general concept of trying off-label use
  of rifaximin to treat IBS-D.”).
      In view of the record before us, we see no clear error in
  the finding that a skilled artisan would have had a reason-
  able expectation of success in administering the claimed
  1,650 mg/day regimen for the treatment of IBS-D. We
  therefore affirm the district court’s holding that the chal-
  lenged IBS-D claims would have been obvious over the
  cited references. See In re Applied Materials, Inc., 692 F.3d
  1289, 1295 (Fed. Cir. 2012) (“[W]here the general condi-
  tions of a claim are disclosed in the prior art, it is not in-
  ventive to discover the optimum or workable ranges by
  routine experimentation.” (citation omitted)).
       Salix further contends that a Press Release 8 issued by
  Salix in a filing with the Securities and Exchange Commis-
  sion less than a year before the patents’ priority date was
  not prior art because Norwich failed to establish that it was
  “by others” as required by pre-AIA 35 U.S.C. § 102(a). Ap-
  pellants’ Br. at 30−39. According to Salix, the district
  court’s inclusion of that allegedly non-prior art reference in
  its discussion of the skilled artisan’s expectation of success
  was harmful error. Id.
      Although the district court cited the Press Release in
  its discussion of the skilled artisan’s expectations, it ulti-
  mately held that the “Protocol and Pimentel [] disclose all
  limitations of the IBS-D claims” and that a skilled artisan
  “would have been motivated to combine the . . . Protocol
  and Pimentel [] with a reasonable expectation of success.”
  Decision at *17. We therefore need not decide whether or
  not the Press Release was prior art because, even assuming
  that it was not, the Protocol and Pimentel alone estab-
  lished the obviousness of the claims.



      8   Salix Pharms., Ltd., Current Report (Form 8-K)
  (Sept. 5, 2007); J.A. 7477–82.
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      We accordingly affirm the district court’s determina-
  tion that Norwich established that the IBS-D claims would
  have been obvious in view of the Protocol and Pimentel.
                                 II
      We next turn to Salix’s contention that the district
  court clearly erred in finding that there would have been a
  reasonable expectation of success in obtaining the rifaxi-
  min form β recited in the polymorph patents’ claims.
      Whether or not there would have been a reasonable ex-
  pectation of success is a question of fact, IXI IP, LLC v.
  Samsung Elecs. Co., 903 F.3d 1257, 1262 (Fed. Cir. 2018),
  which we review for clear error, Hospira, 946 F.3d at 1328.
  We review the ultimate conclusion of obviousness de novo.
  Id.
      The polymorph patents are directed to rifaximin form
  β. For example, claim 4 of the ’199 patent recites:
       4. Rifaximin in polymorphic form β, wherein the
       rifaximin has x-ray powder diffraction pattern
       peaks at about 5.4°; 9.0°; and 20.9°2θ and wherein
       the rifaximin has a water content of greater than
       5%.
  ’199 patent, col. 10 ll. 24–27; see also ’206 patent, col. 11 ll.
  33–37, 41–43 (claims 34 & 36, similar).
      Norwich challenged the polymorph claims’ validity by
  asserting, inter alia, Cannata, 9 which discloses that rifaxi-
  min exists in crystalline form with “outstanding antibacte-
  rial properties.” J.A. 4528; Decision at *6. Cannata does
  not discuss rifaximin’s crystal structure in detail, but it
  does disclose several preparation protocols for rifaximin
  that include solvents used for crystallization. J.A. 4529–
  31; see also id. at 3408.



       9   U.S. Patent 4,557,866; J.A. 4526−32.
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       The district court held that expert testimony supported
  a conclusion that, in view of the prior art, (1) a skilled arti-
  san would have had good reason to characterize the crys-
  talline rifaximin obtained by following the Cannata
  protocols, (2) that such characterization was routine and
  could have been performed “in one day,” and (3) that doing
  so would have led the skilled artisan to have “detected
  rifaximin β.” Decision at *6–7. The district court subse-
  quently concluded that the challenged polymorph claims
  would have been obvious over the asserted prior art in view
  of the common knowledge of the skilled artisan. Id. at *7–
  8.
      Salix first challenges the district court’s conclusion of
  obviousness by asserting that Grunenthal GMBH v. Alkem
  Laboratories Ltd., 919 F.3d 1333 (Fed. Cir. 2019) and Phar-
  macyclics LLC v. Alvogen, Inc., No. 2021-2270, 2022 WL
  16943006 (Fed. Cir. Nov. 15, 2022) compel the opposite re-
  sult. Appellants’ Br. at 49–51. Salix further contends that
  the court “applied the wrong test” by not following a ra-
  tionale provided in the district court opinion from Pharma-
  cyclics. Id. at 55–57. We disagree.
       In Grunenthal, we held that it was not clear error for
  the district court to find that the record failed to establish
  by clear and convincing evidence a reasonable expectation
  of success in preparing the claimed polymorphic Form A of
  tapentadol hydrochloride. See 919 F.3d at 1341. In that
  case, the synthesis of tapentadol hydrochloride known in
  the prior art produced a particular form—Form B. Id. The
  district court found that there was a lack of evidence that
  a prior art synthesis would have resulted in the claimed
  Form A and that no prior art guidance existed to establish
  “what particular solvents, temperatures, agitation rates,
  etc., were likely to result” in the claimed polymorph. Id. at
  1343. We found no clear error in that analysis. Id. at
  1344–45.
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      We also affirmed a conclusion of non-obviousness of a
  claimed polymorph in our non-precedential Pharmacyclics
  decision, which issued after the district court released its
  decision in this case. See 2022 WL 16943006, at *10–11.
  But the court here acted within its discretion when it de-
  clined to follow the district court decision in Pharmacyclics
  as though it was binding precedent. See Decision at *7 n.1
  (“Plaintiffs call to my attention [the district court’s decision
  in] Pharmacyclics LLC v. Alvogen Pine Brook LLC. I have
  considered that case but I do not agree with it on this
  point.”). And our later affirmance of the factual findings in
  Pharmacyclics did not retroactively override the district
  court’s analysis here.
       Moreover, a lack of clear error in Grunenthal and Phar-
  macyclics does not compel a conclusion of non-obviousness
  here. Indeed, Grunenthal underscored the factual nature
  of these types of inquiries and expressly held that it did
  “not rule out the possibility that polymorph patents could
  be found obvious.” 919 F.3d at 1344–45. “The determina-
  tion of obviousness is dependent on the facts of each case.”
  Sanofi-Synthelabo v. Apotex, Inc., 550 F.3d 1075, 1089
  (Fed. Cir. 2008); see also Pfizer, Inc. v. Apotex, Inc.,
  480 F.3d 1348, 1366 (Fed. Cir. 2007). In Grunenthal and
  Pharmacyclics, the issue was whether a skilled artisan
  would have had a reasonable expectation of success in pro-
  ducing a crystalline form of a compound. See 919 F.3d at
  1341–43; 2022 WL 16943006, at *10–11. Here, the prior
  art included a process to produce a crystalline form of rifax-
  imin, and the dispute centered around characterizing the
  crystalline form resulting from that process. See Decision
  at *13–14. These distinct factual predicates support the
  district courts’ factual findings in each of these three cases
  under the clear error standard of review.
      In Graham v. John Deere Co. of Kansas City, 383 U.S.
  1 (1966), the Supreme Court set forth the background
  against which obviousness is to be assessed: “Under § 103,
  the scope and content of the prior art are to be determined”
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  and “differences between the prior art and the claims at
  issue are to be ascertained.” Id. at 17. The scope and con-
  tent of the prior art here includes preparations of crystal-
  line rifaximin, which expert testimony supports would
  have yielded the β form of rifaximin. Decision at *7; J.A.
  3391−92 (“[T]he as-synthesized form of rifaximin reported
  by Examples 1, 6, 7, and 9 [of Cannata] were necessarily
  rifaximin form Beta, because of the methods used, the sol-
  vent system used, and it was later confirmed by later work,
  including work from the named inventors.”); id. at 3408−09
  (similar testimony); id. at 3393−3404 (discussing the evi-
  dence of record that supports that conclusion); id. at
  4700−07, 4846−47, 5007−14 (providing supporting evidence
  for that conclusion). And the parties do not dispute that
  the methods for characterizing the resulting crystalline
  rifaximin were well known and readily available to the
  skilled artisan. Decision at *3. The difference between the
  prior art and the claims is thus effectively nothing more
  than the performance of routine characterization to iden-
  tify the polymorphic forms that result from the known Can-
  nata processes.
       In this regard, Salix does not appear to dispute that
  there would have been a motivation to explore potential
  polymorphic forms of rifaximin. Appellants’ Br. at 48–49.
  Rifaximin was, after all, a known compound with a known,
  useful activity. Salix further refers to the district court’s
  finding that “polymorph β is a commonly produced poly-
  morph and the most stable form of rifaximin” as an “undis-
  puted” fact. Id.; see also Decision at *7. There thus appears
  to be no dispute that the claimed polymorph can be readily
  produced from the crystallization conditions disclosed in
  Cannata and that it would have been well within the abil-
  ities of the skilled artisan to procure and characterize the
  β form of rifaximin.
      According to Salix, however, rifaximin’s β form consti-
  tuted a non-obvious invention because, although skilled ar-
  tisans “actually succeed[ed]” in producing and
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  characterizing it, they would not have “expect[ed] to suc-
  ceed” because, as of the critical date, the polymorphic na-
  ture of rifaximin had not yet been reported and the identity
  of the β form remained undisclosed. Appellants’ Br. at 49.
  Salix further argues that there could have been no expec-
  tation of success because the skilled artisan would not have
  been able to predict what polymorphic forms might result
  from following the preparation protocols disclosed in the
  prior art. Id. at 20−21, 50−53. Salix’s framing of the issue
  suggests that no unknown entity could ever be obvious, as
  one cannot reasonably expect what was hitherto unknown,
  which is incorrect.
      Here, the district court found a reasonable expectation
  of success in characterizing the crystalline product of Can-
  nata for potential polymorphism using routine, conven-
  tional methods and skill. Decision at *6–7. We see no clear
  error in that conclusion. Indeed, Salix has done no more
  than combine known elements of the prior art to verify
  readily accessible information concerning a compound al-
  ready in the hands of those of ordinary skill in the art, and
  such routine efforts do not justify removing this polymorph
  from the public domain. See KSR Int’l Co. v. Teleflex Inc.,
  550 U.S. 398, 427 (2007); see also Pfizer, 480 F.3d at
  1367−68. To be sure, we do not hold that there is always a
  reasonable expectation of success in accessing or character-
  izing polymorphs. We are simply reviewing the district
  court’s decision before us as to its factual finding of a rea-
  sonable expectation of success, and in so doing, have not
  been left with a definite and firm conviction that a mistake
  was made in reaching that finding. See Scanner Techs.
  Corp. v. ICOS Vision Sys. Corp. N.V., 528 F.3d 1365, 1374
  (Fed. Cir. 2008).
       Having found no clear error in the district court’s fact
  findings as to the existence of a reasonable expectation of
  success, we affirm the court’s conclusion that the poly-
  morph patent claims were invalid as obvious. Because we
  affirm the court’s holding that the polymorph patent claims
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  would have been obvious over the asserted prior art, we
  need not consider Norwich’s separate argument that the
  polymorph claims would have also been invalid as inher-
  ently anticipated.
                               III
       On cross-appeal, Norwich raises two related but dis-
  tinct arguments that arose after the district court held that
  Norwich infringed the HE patents and failed to establish
  invalidity. See Decision at *10−16. Norwich first argues
  that, in issuing its final decision, the district court misin-
  terpreted 35 U.S.C. § 271(e)(4)(A), which directs a court,
  following a finding of infringement, to order the FDA to de-
  fer final approval of an ANDA until the expiration of the
  infringed patent. According to Norwich, that statute pre-
  cludes delaying final approval of an entire ANDA, and in-
  stead requires delaying only the approval of the infringing
  use.
      Norwich’s second argument arises from its decision to
  amend its ANDA to carve out the infringing HE use after
  final judgment. Following that amendment, Norwich filed
  a motion to modify the final judgment to allow for prompt
  approval of the amended ANDA that purportedly no longer
  sought approval for the infringing HE use. The district
  court denied that motion, and Norwich cross-appealed.
      We address both of Norwich’s concerns in turn.
                               A.
      We first address Norwich’s arguments regarding the
  district court’s interpretation of 35 U.S.C. § 271(e)(4)(A) in
  ordering that a final approval of Norwich’s ANDA could not
  be effective before the HE patents expired. J.A. 50−51.
      We review issues of statutory interpretation without
  deference to the district court’s interpretation. Waymark
  Corp. v. Porta Sys. Corp., 245 F.3d 1364, 1366 (Fed. Cir.
  2001).   “The starting point in every case involving
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  construction of a statute is the language itself.” Blue Chip
  Stamps v. Manor Drug Stores, 421 U.S. 723, 756 (1975)
  (Powell, J., concurring). Moreover, we “give effect, if possi-
  ble, to every clause and word of [the] statute.” United
  States v. Menasche, 348 U.S. 528, 538–39 (1955) (citation
  omitted). When a statute does not define a given word or
  phrase, we presume that Congress intended the word or
  phrase to have its ordinary meaning. Asgrow Seed Co. v.
  Winterboer, 513 U.S. 179, 187 (1995). However, “[i]n ex-
  pounding a statute, we must not be guided by a single sen-
  tence or member of a sentence, but look to the provisions of
  the whole law, and to its object and policy.” U.S. Nat’l Bank
  of Or. v. Indep. Ins. Agents of Am., Inc., 508 U.S. 439, 455
  (1993) (citation omitted).
       Section 271(e)(4)(A) instructs that, following a finding
  of infringement, “the court shall order the effective date of
  any approval of the drug or veterinary biological product
  involved in the infringement to be a date which is not ear-
  lier than the date of the expiration of the patent which has
  been infringed.” The order here instructed the FDA that
  “the effective date of any final approval . . . of Norwich’s
  ANDA No. 214369 is to be a date not earlier than the date
  of expiration of the last to expire of [the HE patents] (cur-
  rently October 2, 2029).” J.A. 51.
      Norwich argues that the language of § 271(e)(4) re-
  quires courts to tie the restriction on FDA approval to the
  indication for which the ANDA seeks approval when that
  indication was the source of infringement. Cross-Appel-
  lants’ Br. at 14. Norwich’s ANDA originally sought ap-
  proval for the treatment of both IBS-D and HE. Although
  only the HE indication was found to infringe a valid patent,
  the order restricted final approval of the entire ANDA, in-
  cluding the non-infringing indication, until 2029. Norwich
  argues that the statute requires the district court’s order
  “to specify that the approval date pertains to Norwich’s
  ANDA seeking approval for the infringing HE Indication.”
  Id. at 18. But the district court order concerned only the
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  specific ANDA in question that included an infringing use,
  referred to the ANDA by its number, and enjoined the ap-
  proval of that ANDA. J.A. 51. Norwich suggests that the
  district court order unfairly precludes it from receiving fi-
  nal approval of a new non-infringing ANDA. 10 The district
  court did no such thing.
      Section 271(e)(4)(A) describes delaying the approval of
  “the drug . . . involved in the infringement.” Since the FDA
  does not approve drugs in the abstract, but rather approves
  drugs for particular uses (indications) of that drug, the
  statute is appropriately construed as directed to approval
  of particular infringing uses of the drug, not all uses of the
  drug including non-infringing uses. The statutory scheme
  makes clear that it is not the potential use of Norwich’s
  rifaximin for HE that constitutes the relevant infringe-
  ment here, nor is it the unpatented drug compound itself,
  but rather it is the submission of the ANDA that included
  an infringing use. See 35 U.S.C. § 271(e)(2)(A) (making it
  an “act of infringement to submit” an ANDA “for a drug
  claimed in a patent or the use of which is claimed in a pa-
  tent”). That the ANDA further recited a non-patent-pro-
  tected indication does not negate the infringement
  resulting from the ANDA’s submission. The order thus ap-
  propriately delayed the effective final approval date of “this
  infringing ANDA” submission. J.A. 48. The order appro-
  priately said nothing that would prevent approval of a new
  non-infringing ANDA.
      We therefore affirm the district court’s order setting
  the effective approval date of Norwich’s ANDA No. 214369


      10  Norwich notes that on June 2, 2023, FDA tenta-
  tively approved its amended ANDA, which purportedly
  lacks the HE indication. Cross-Appellant’s Br. at 6. The
  tentative approval letter noted, however, that “final ap-
  proval cannot be granted until October 2, 2029 as specified
  in the court order.” Id.
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  to be no earlier than the date of expiration of the last to
  expire of the HE patents.
                                B.
       Following entry of the final judgment, which included
  the resetting order barring final approval of Norwich’s
  ANDA until 2029, Norwich amended its ANDA in an at-
  tempt to remove the infringing HE indication. Norwich
  then moved to modify the judgment under Federal Rule of
  Civil Procedure 60(b), asserting that the amendment ne-
  gated any possible infringement, and that the final ap-
  proval date of the ANDA, as amended, should not be tied
  to the HE patents. See Cross-Appellant’s Br. at 27. The
  district court denied that motion, holding that Norwich
  “fully litigated the merits of its non-infringement and inva-
  lidity case, lost, and now seeks a way around the final judg-
  ment through Rule 60(b).” Rule 60(b) Order at *2. Norwich
  cross-appealed.
      “Because denial of a Rule 60(b) motion is a procedural
  issue not unique to patent law, we apply the rule of the re-
  gional circuit where appeals from the district court would
  normally lie,” Amstar Corp. v. Envirotech Corp., 823 F.2d
  1538, 1550 (Fed. Cir. 1987), which, here, is the Third Cir-
  cuit. The Third Circuit “review[s] the denial of Rule 60(b)
  relief for an abuse of discretion.” Coltec Indus., Inc. v. Hob-
  good, 280 F.3d 262, 269 (3d Cir. 2002); see also Bohus v.
  Beloff, 950 F.2d 919, 930 (3d Cir. 1991) (noting that Rule
  60(b) motions are “extraordinary relief which should be
  granted only where extraordinary justifying circumstances
  are present” (citation omitted)).
      “A district court may reconsider its own finding of in-
  fringement in light of an amended ANDA,” but the court
  need not do so. Ferring B.V. v. Watson Lab’ys, Inc. Fla.,
  764 F.3d 1382, 1391 (Fed. Cir. 2014). Rather, “[a]llowing
  an amendment is within the discretion of the district court,
  guided by principles of fairness and prejudice to the patent-
  holder.” Id. Here, the court reasonably held that
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  consideration of the amended ANDA would be inequitable
  and inappropriate. Rule 60(b) Order at *2. The court noted
  that “[i]t is not a simple matter to determine whether an
  ANDA applicant has successfully carved out language from
  a label to turn infringement into non-infringement” and
  that what Norwich sought in its Rule 60(b) motion “would
  essentially be a second litigation” following final judgment.
  Id. (noting also that, other than simply asserting that it
  carved out the HE indication and providing the court with
  the amended label, Norwich “ha[d] presented no evidence
  in support of its assertion” that the amended ANDA would
  no longer infringe the HE patents).
      Norwich nevertheless argues that the amended ANDA
  satisfies the judgment by not seeking approval for the in-
  fringing use and that, in view of the amendment, it is no
  longer equitable to apply the judgment prospectively. But
  Rule 60(b) is permissive, holding only that the court “may
  relieve a party or its legal representative from a final judg-
  ment, order, or proceeding” under various circumstances.
  That is—a district court has the discretion, not the obliga-
  tion, to modify a final judgment in view of a post-judgment
  ANDA amendment. And as the district court held, simply
  asserting that a patented indication has been carved out of
  an ANDA application does not necessarily satisfy the judg-
  ment or entitle the applicant to direct entry to the market.
  See Rule 60(b) Order at *2. We see no abuse of discretion
  in the district court reaching that conclusion or in subse-
  quently denying the motion.
       Norwich further argues that the district court erred by
  not explicitly discussing Rule 60(b)(6), which provides that
  a court may relieve a party from a final judgment for “any
  other reason that justifies relief.” We disagree that the dis-
  trict court so erred. The court’s Memorandum Order thor-
  oughly discussed the law, the equities, the record, and the
  arguments before it. In so doing, the court implicitly found
  no additional reason that justified the relief that Norwich
  sought.
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     We therefore affirm the district court’s denial of the
  motion to modify the final judgment.
                           CONCLUSION
      We have considered both parties remaining arguments
  and find them unpersuasive. For the foregoing reasons, we
  affirm (1) the district court’s holding that claim 2 of the ’569
  patent, claim 3 of the ’667 patent, claim 4 of the ’199 patent,
  and claim 36 of the ’206 patent would have been invalid as
  obvious, (2) the district court’s order setting the effective
  approval date of Norwich’s ANDA to be no earlier than the
  date of expiration of the last to expire of the HE patents,
  and (3) the district court’s denial of the motion to modify
  the final judgment.
                          AFFIRMED
                              COSTS

  No costs.
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     United States Court of Appeals
         for the Federal Circuit
                    ______________________

       SALIX PHARMACEUTICALS, LTD., SALIX
     PHARMACEUTICALS, INC., BAUSCH HEALTH
         IRELAND LTD., ALFASIGMA S.P.A.,
                Plaintiffs-Appellants

                               v.

         NORWICH PHARMACEUTICALS INC.,
              Defendant-Cross-Appellant
               ______________________

                     2022-2153, 2023-1952
                    ______________________

      Appeals from the United States District Court for the
  District of Delaware in No. 1:20-cv-00430-RGA, Judge
  Richard G. Andrews.
                  ______________________
  CUNNINGHAM, Circuit Judge, dissenting in part.
       I join most of the majority’s opinion, but I respectfully
  dissent from the majority’s opinion concerning U.S. Patent
  Nos. 8,309,569 and 10,765,667 (the “IBS-D patents”). I
  would vacate the district court’s judgment that the as-
  serted claims of the IBS-D patents are obvious and remand
  for further proceedings.
                                I
      The district court found that “[t]he asserted IBS-D
  claims describe a dosing regimen within the known range”
  and that “[a] POSA would have been motivated to combine
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  the RFIB 2001 Protocol 1 and Pimentel 2006 2 with a rea-
  sonable expectation of success.” Salix Pharms., Ltd. v. Nor-
  wich Pharms., Inc., No. 20-430-RGA, 2022 WL 3225381, at
  *17 (D. Del. Aug. 10, 2022) (“Decision”) (footnotes added).
  Based on these findings of fact, the court concluded that
  “Pimentel 2006 in light of the RFIB 2001 Protocol renders
  the asserted claims of the IBS-D patents obvious.” Id. at
  *18. After reviewing the evidence relied on by the district
  court, applying a clear error standard, I am “left with the
  definite and firm conviction that a mistake has been com-
  mitted” regarding these findings. Pfizer, Inc. v. Apotex,
  Inc., 480 F.3d 1348, 1359 (Fed. Cir. 2007) (quoting United
  States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)).
      The evidence cited by the district court does not sup-
  port its finding that a skilled artisan would have a reason-
  able expectation of success for the claimed dosage. See
  Decision at *17, *19. “The reasonable-expectation-of-suc-
  cess analysis must be tied to the scope of the claimed in-
  vention”––here, the claimed 1,650 mg/day (550 mg TID 3)
  dosage for treating IBS-D. Teva Pharms. USA, Inc. v. Cor-
  cept Therapeutics, Inc., 18 F.4th 1377, 1381 (Fed. Cir.
  2021). The district court mainly relied on the results of the



      1    ClinicalTrials.gov, History of Changes for Study:
  NCT00269412, Randomized, Double Blind, Placebo-Con-
  trolled Study to Assess the Efficacy and Safety of Three Dif-
  ferent Doses of Rifaximin Administered BID Either Two or
  Four Weeks in the Treatment of Patients with Diarrhea-As-
  sociated Irritable Bowel Syndrome (December 22, 2005);
  J.A. 7048–55.
       2   M. Pimentel et al., The Effect of a Nonabsorbed
  Oral Antibiotic (Rifaximin) on the Symptoms of the Irrita-
  ble Bowel Syndrome, 145 ANNALS INTERN. MED. 557 (2006);
  J.A. 4639–46. The majority refers to this reference as Pi-
  mentel.
       3   TID stands for three times per day.
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  RFIB 2001 trial disclosed in the RFIB 2001 Press Release 4
  in arriving at this conclusion. Decision at *19. However,
  there is no reason that a skilled artisan “would have known
  about the successful RFIB 2001 Protocol results,” id., as to
  the claimed 1,650 mg/day (550 mg TID) dosage because the
  RFIB 2001 Press Release only discloses an improvement in
  the 550 mg twice-a-day group. J.A. 7480; see Decision at
  *19. In fact, evidence in the record suggests the opposite—
  that a skilled artisan might have understood the absence
  of discussions of the 1,100 mg twice-a-day group to imply
  that higher dosage did not lead to similar successful re-
  sults. See J.A. 3313–14. Indeed, the 2,200 mg/day dosage
  “did not achieve more responders compared to the placebo
  for adequate relief.” 5 J.A. 3042. Thus, the court’s reliance
  on the RFIB 2001 Press Release to establish a reasonable
  expectation of success was erroneous. 6
      The district court’s citations to other references do not
  cure this error. Cuoco 7 discloses a total dose of 1,200



      4   Salix Pharms., Ltd., Current Report (Form 8-K)
  (Sept. 5, 2007); J.A. 7477–82.
      5   Although the evidence that the 2,200 mg/day dos-
  age did not achieve adequate relief post-dates the priority
  date of the patent, it clarifies what a skilled artisan would
  have understood from the RFIB 2001 Press Release. See
  Syntex (U.S.A.) LLC v. Apotex, Inc., 407 F.3d 1371, 1379
  (Fed. Cir. 2005) (holding district court erred in not consid-
  ering a reference that post-dates the priority date when it
  is relevant to what “was known in the art at the relevant
  time”).
      6   Salix also challenges the district court’s finding
  that the RFIB 2001 Press Release was prior art. Appel-
  lant’s Br. 30–39; Decision at *20. I agree with the majority
  that we do not need to reach this issue.
      7   L. Cuoco & M. Salvagnini, Small intestine bacterial
  overgrowth in irritable bowel syndrome: a retrospective
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  mg/day for 14 days, and Barrett 8 similarly discloses 400
  mg TID for a total dosage of 1,200 mg/day. Decision at
  *19; see also J.A. 4536; J.A. 4800. The district court did not
  explain why these references would give rise to a reasona-
  ble expectation of success for a dosage that is almost 40%
  higher.     The reference by the district court to the
  “[w]idespread off-label use” of rifaximin was also unaccom-
  panied by any discussion of dosages or citations to the rec-
  ord. Decision at *19. Likewise, it discussed market
  research that shows many physicians prescribe rifaximin
  for IBS without discussing their prescribed dosages. Deci-
  sion at *20 (citing J.A. 7186). The cited research does not
  show that physicians prescribe at the 1,650 mg/day (550
  mg/TID) dosage. J.A. 7186.
      Although “efficacy data is [not] always required for a
  reasonable expectation of success,” OSI Pharms., LLC v.
  Apotex Inc., 939 F.3d 1375, 1385 (Fed. Cir. 2019), the anal-
  ysis must still be tied to the scope of the claims—here, the
  1,650 mg/day dosage. See Teva, 18 F.4th at 1381; see also
  In re Cyclobenzaprine Hydrochloride Extended-Release
  Capsule Pat. Litig., 676 F.3d 1063, 1070–72 (Fed. Cir.
  2012) (finding no reasonable expectation of success when
  the court “cited no evidence specifically indicating that a
  [drug with a pK profile disclosed in the prior art] would be
  expected to yield the same therapeutic effect as [a different
  pK profile as claimed]”); Ferring B.V. v. Watson Lab’ys,
  Inc.-Fla., 764 F.3d 1401, 1407 (Fed. Cir. 2014) (finding as-
  serted claims not to be invalid for obviousness when prior
  art references “disclose 500 mg [] formulations, but no



  study with rifaximin, 52 MINERVA GASTROENTEROL.
  DIETOL. 89 (2006); J.A. 4533–39.
      8   G. Barrett, Abstract, Benefits of the Antibiotic
  Rifaximin as Empiric Therapy in Patients with Irritable
  Bowel Syndrome, 101 AM. J. GASTROENTEROL. S479 (2006);
  J.A. 4799–4800.
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  higher tablet strengths, and particularly not the claimed
  650 mg formulation”). Aside from its erroneous reliance on
  the RFIB 2001 Press Release, the district court failed to tie
  its reasonable expectation of success analysis to the
  claimed dosage. Therefore, I would find that it clearly
  erred in its reasonable expectation of success analysis.
      In sum, the district court clearly erred in relying on the
  RFIB 2001 Press Release and other references that do not
  teach the claimed dosage. For these reasons, I would have
  found the district court’s finding to be clearly erroneous
  and would vacate the district court’s judgment that the
  IBS-D claims were invalid as obvious.
                                II
       In affirming the district court’s judgment of obvious-
  ness, the majority relies on one additional sentence in Pi-
  mentel 2006 regarding the reasonable expectation of
  success analysis: “Recent data suggest that the optimal
  dosage of rifaximin may, in fact, be higher than that used
  in our study.” J.A. 4644; see Maj. Op. 8. But the lack of
  discussion of any actual dosage that may be optimal, the
  use of the word “may,” and the fact that the RFIB 2001
  Protocol discloses a specific dosing regimen of 2,200 mg/day
  rather than 1,650 mg/day all call into question the major-
  ity’s finding. Indeed, the district court only relied on this
  sentence in its motivation to combine analysis and did not
  rely on this sentence in its reasonable expectation of suc-
  cess analysis. See Decision at *18–20. The parties never
  made this argument before us. Therefore, I disagree that
  this additional sentence, when considered together with
  the RFIB 2001 Protocol, would give rise to a reasonable ex-
  pectation of success for the claimed dosage.
      The majority also discusses references not relied on by
  the district court in its reasonable expectation of success
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  analysis, including Lauritano9, Scarpellini 10, and Lin. 11
  Maj. Op. 9–10. But the district court did not make any
  findings on what these references teach, other than finding
  that the references were prior art. See Decision at *17–22.
  Nor are the majority’s conclusions regarding these refer-
  ences uncontested. For example, Salix argues that Scar-
  pellini and Lauritano are both directed to the treatment of
  small intestinal bacterial overgrowth (SIBO), not to the
  treatment of IBS or IBS-D, and therefore cannot establish
  a reasonable expectation of success. Appellant’s Reply Br.
  18. Although the majority may be right that Lauritano’s
  and Scarpellini’s disclosures on treating SIBO also support
  finding a reasonable expectation of success for treating
  IBS-D, see Maj. Op. 9–10, the district court never made this
  finding. See Golden Bridge Tech., Inc. v. Nokia, Inc., 527
  F.3d 1318, 1323 (Fed. Cir. 2008) (declining to find what a
  prior art reference teaches in the first instance). It merely
  found that “[t]he relationship between IBS and SIBO was
  actively being explored,” and that certain prior art refer-
  ences “do not teach away from using rifaximin to treat
  IBS.” Decision at *21. I would not make such fact-findings
  about Scarpellini and Lauritano in the first instance.
      In summary, I would vacate the district court’s judg-
  ment that the asserted claims of the IBS-D patents were
  obvious and remand for further proceedings. On remand,
  I would order the district court to consider in the first in-
  stance the teachings in the additional prior art references.



      9    E.C. Lauritano et al., Rifaximin dose-finding study
  for the treatment of small intestinal bacterial overgrowth,
  22 ALIMENT. PHARMACOL. THER. 31 (2005); J.A. 7267−71.
      10   E. Scarpellini et al., High dosage rifaximin for the
  treatment of small intestinal bacterial overgrowth,
  25 ALIMENT. PHARMACOL. THER. 781 (2007); J.A. 4663−67.
      11   International Patent Application Publication No.
  WO 2006/102536; J.A. 4721–47.
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  See ACS Hosp. Sys., Inc. v. Montefiore Hosp., 732 F.2d
  1572, 1578 (Fed. Cir. 1984) (“Where the trial court fails to
  make findings, the judgment will normally be vacated and
  the action remanded for appropriate findings to be made.”).
  Accordingly, I respectfully dissent in part.
